eExhibt A

   

Money Manageme nt 1atat Southwest Freeway, Suite 1000 | “Sugar Land, Texas 77478

INTERNATIONAL | : MoneyManagemient.org

 

 

November 24,2014
RE: Client # 30843398-7

MS. MAUREEN E ENGEN
7905 WO6THST __
OVERLAND PARK, KS 66212-3308

:

Dear Ms. Maureen E Engen,

Congratulations! You have accomplished something you should be proud of ~ successfully
completing your Debt Management Pian (OMP). You are now in 4 position to handle any remaining
obligations and have the opportunity ta:be in control of your financial future.

Here are some helpful suggestions to consider:

e@ Verify the accuracy of your-credit report. You can teceive a free. copy of your credit réport
annually, at www.annualcreditreport.com. This is a-simple, efficient means of raviawing
your most-current information and identifying potential errors since your last payment.

To allow time for your creditors to provide reporting of balances paid in full, you should
contact us for a review no less than 90 days from your last disbursement. One of our
certified counselors will be glad.to review the information with you.

® Ifyou havenot started a savings plan, you should begin one immediately with all or part:
of what you have been depositing each month. You have been paying others for the past
months or years, niow:pay yourself

® Set up-shortterm- and long-term budget goals.. Remember, our counselors will assist you:
in setting up a post Debt Management Program budget.

Ifyou have: any questions or need further assistance, remember we're always hereto help you.
Again, congratulations and best wishes for the futuret.

Sincerely,

Money: Management International
Phone: 888.845.5669 | Fax: 888.812.5358

é

A Nonprofit Community service Organization
Meriber ofthe Member ofthe.

accredited By the i
National Fouridation for Credie Counseling { Assotiation of independent Consumer Credit Counseling Agencies

Council an Accreditation

satoeerypwltntiabenese

Case 15-20184 Doc#41-1 Filed 10/12/15 Page 1 of 3
Account Summary

01/18/2011

 

 

DMP start date: DMP close date: 11/24/2014
Starting # of creditors: \17 Ending # of creditors: 17
Original debt amount: $73,884.89 Current debt amount: $12,192.16
Total amount deposited: $79,445.00 .
Total amount refunded: :
Total payment amount disbursed: $78,629.98
Total creditor voids and refunds ($174.98)
Total fee amount paid $990.00
DEPOSIT HISTORY
Deposit Type | Date | Amount | Available Date | Description
ACH 11/17/2014 $1,716.00 ACH Deposit
ACH 10/17/2014 $1,716.00 ACH Deposit
ACH 09/17/2014 $1,716.00 ACH Deposit
ACH 08/18/2014 $1,716.00 ACH Deposit
ACH 07/17/2014 $1,716.00 ACH Deposit
ACH 06/17/2014 $1,716.00 ACH Deposit
ACH 05/19/2014 $1,716.00 ACH Deposit
ACH 04/17/2014 $1,716.00 ACH Deposit
ACH 03/17/2014 $1,716.00 ACH Deposit
ACH 02/18/2014 $1,716.00 ACH Deposit
ACH 01/17/2014 $1,716.00 ACH Deposit
ACH 12/17/2013 $1,716.00 ACH Deposit
ACH 11/18/2013 $1,716.00 ACH Deposit
ACH 10/17/2013 $1,716.00 ACH Deposit
ACH 09/17/2013 $1,716.00 ACH Deposit
ACH 08/19/2013 $1,716.00 ACH Deposit
ACH 07/17/2013 $1,716.00 ACH Deposit
ACH 06/17/2013 $1,716.00 ACH Deposit
ACH 05/17/2013 $1,716.00 ACH Deposit
ACH 04/17/2013 $1,716.00 ACH Deposit
ACH 03/18/2013 $1,716.00 ACH Deposit
ACH 02/19/2013 $1,716.00 ACH Deposit
ACH 01/17/2013 $1,716.00 ACH Deposit
ACH 12/17/2012 $1,716.00 ACH Deposit
ACH 11/19/2012 $1,716.00 ACH Deposit
ACH 10/17/2012 $1,716.00 .
ACH 09/17/2012 $1,716.00
ACH 08/17/2012 $1,716.00
ACH 07/17/2012 $1,716.00
ACH 06/18/2012 $209.00
ACH _ 05/17/2012 $1,716.00
ACH 04/17/2012 $1,716.00
ACH 03/19/2012 $1,716.00
ACH 02/17/2012 $1,716.00
ACH 01/17/2012 $1,716.00
ACH 12/19/2011 $1,716.00
ACH 11/17/2011 $1,716.00
ACH 10/17/2011 $1,716.00
ACH 09/19/2011 $1,716.00

 

 

Case 15-20184 Doc#41-1 Filed 10/12/15 Page2of3

 
 

DEPOSIT HISTORY

 

 

 

 

 

Deposit Type | Date | Amount | _ Available Date Description
ACH 08/17/2011 $1,716.00
ACH 07/18/2011 $1,716.00
ACH 06/17/2011 $1,716.00
ACH 05/17/2011 © $1,716.00
ACH 04/18/2011 $1,716.00
ACH 03/17/2011 $1,716.00
ACH 02/17/2011 $1,716.00
ACH 01/18/2011 $2,016.00
Total Deposits $79,445.00

DISBURSEMENT HISTORY

 

Disbursement History for First National Bank of Omaha - FIRST NATIONAL BANK OF OMAHA (***648874)

 

 

 

Transaction Type | — CheckDate | ‘Amount issue Date | Check Number
DISBPRIN 11/24/2014 $322.00 11/24/2014  ~—_ Electronic Pmt
DISBPRIN 10/24/2014 $321.21 10/24/2014 Electronic Pmt
DISBPRIN 09/24/2014 $309.17 09/24/2014 Electronic Pmt
DISBPRIN 08/22/2014 $296.66 08/22/2014 Electronic Pmt
DISBPRIN 07/24/2014 $296.66 07/24/2014 Electronic Pmt
DISBPRIN 06/24/2014 $296.66 * 06/24/2014 Electronic Pmt
DISBPRIN 05/23/2014 $296.66 05/23/2014 Electronic Pmt
DISBPRIN 04/24/2014 $293.54 04/24/2014 Electronic Pmt
DISBPRIN 03/24/2014 $290.42 03/24/2014 Electronic Pmt
DISBPRIN 02/24/2014 $290.42 02/24/2014 Electronic Pmt
DISBPRIN 01/24/2014 $274.51 01/24/2014 Electronic Pmt
DISBPRIN 12/24/2013 $278.68 12/24/2013 Electronic Pmt
DISBPRIN _ 11/25/2013 $268.00 11/25/2013 Electronic Pmt
DISBPRIN 10/24/2013 $276.62 10/24/2013 Electronic Pmt
DISBPRIN 09/24/2013 $272.65 09/24/2013 Electronic Pmt
DISBPRIN 08/23/2013 $272.65 08/23/2013 Electronic Pmt
DISBPRIN 07/24/2013 $272.65 07/24/2013 Electronic Pmt
DISBPRIN 06/24/2013 $272.65 06/24/2013 Electronic Pmt
DISBPRIN 05/24/2013 $272.65 05/24/2013 Electronic Pmt
DISBPRIN 04/24/2013 $272.65 04/24/2013 Electronic Pmt
DISBPRIN 03/22/2013 $272.65 03/22/2013 Electronic Pmt
DISBPRIN 02/25/2013 $272.64 02/25/2013 Electronic Pmt
DISBPRIN 01/24/2013 $272.64 01/24/2013 Electronic Pmt
DISBPRIN 12/24/2012 $272.64 12/24/2012 Electronic Pmt
DISBPRIN 11/26/2012 $272.64 11/26/2012 Electronic Pmt
DISBPRIN 10/24/2012 $272.63 10/24/2012 Electronic Pmt
DISBPRIN 09/24/2012 $272.64 09/24/2012 Electronic Pmt
DISBPRIN 08/24/2012 $272.64 08/24/2012 Electronic Pmt
DISBPRIN 07/24/2012 - $272.63 07/24/2012 Electronic Pmt
DISBPRIN 05/24/2012 $272.63 05/24/2012 Electronic Pmt
DISBPRIN 04/24/2012 $272.64 04/24/2012 Electronic Pmt
DISBPRIN 03/26/2012 $272.63 03/26/2012 Electronic Pmt
DISBPRIN 02/24/2012 $272.49 02/24/2012 Electronic Pmt
DISBPRIN 01/24/2012 $272.50 01/24/2012 Electronic Pmt
DISBPRIN 12/23/2011 $272.50 12/23/2011 Electronic Pmt
DISBPRIN 11/23/2014 $272.50 11/23/2011 Electronic Pmt
DISBPRIN 10/24/2011 $272.50 10/24/2011 Electronic Pmt
DISBPRIN 09/26/2011 $272.50 09/26/2011 Electronic Pmt
DISBPRIN 08/24/2011 $272.50 08/24/2011 Electronic Pmt

Case 15-20184 Doc#41-1 Filed 10/12/15 Page 3of3

 
